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Via ECF

Honorable Michael A. Hammer, Magistrate Judge
United States District Court for the District of New Jersey
50 Walnut Street 2C Newark, NJ 07101

Dated: May 15, 2019

Re: Hager v. National Recovery Agency, Case No: 2:17-cv-07450-MCA-MAH

Honorable Judge Hammer:

       I represent Amanda Hager, the Plaintiff.
       Previously, on March 14, 2019, the Court was scheduled to have an in-person settlement
conference with the parties and their attorneys present, National Recovery Agency, the
Defendant, advised the Court of its own scheduling conflict. The Court rescheduled the
conference for May 29, 2019.
        I am advised by my client, that this month she began an employment in public service, as
a mental health counselor, treating various illnesses of post suicide attempts. As a result of being
short staffed, she would not be able to attend the May 29, 2019 in-person conference. However,
rather than asking for adjournment or prolonging a resolution of this case, my client requests
leave that I be able to appear and compromise on her behalf any purported settlement that the
parties may reach. My client has issued the accompanying affidavit to this affect.
       If the Court is not satisfied by the foregoing, Plaintiff requests an adjournment and can be
available for either July 10, 17, or 24 of 2019.

                                                      Respectfully submitted,

                                                      /s/ Lawrence Katz
